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                         UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION



TRINKA A. TURNER, et al.,                                      Case No. 3:13-cv-01900-SI

                     Plaintiffs,                 JOINT STATUS REPORT

      v.

THOMAS VILSACK, et al.,

                     Defendants.


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       Pursuant to this Court’s order of January 23, 2014, dkt 29, the parties file this joint

status report. There are ongoing developments that may obviate the need for this

litigation, and the parties therefore request that all case deadlines and briefing continue to

be suspended. The parties agree to file another joint status report on April 11, 2014.



       Dated this 24th day of February, 2014.


                                                  Respectfully submitted,

                                                  S. AMANDA MARSHALL
                                                  United States Attorney
                                                  District of Oregon

                                                  /s/ Sean E. Martin
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